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                                                                               May 7, 2025


By ECF

Patricia S. Dodszuweit, Clerk of Court
United States Court of Appeals for the Third Circuit
James A. Byrne United States Courthouse
601 Market Street
Philadelphia, Pennsylvania 19106

        Re:            Atlas Data Privacy Corp., et al. v. MyHeritage Ltd.,
                       Individual Case No. 25-1579 (District Court Case No. 1:24-cv-4392)

Dear Ms. Dodszuweit:

      In response to the Motion to Refer the Case to Appellate Mediation filed by the majority
of Appellants, the Court asked those Appellants who did not join the motion to inform the Court
whether they take a position on the motion.

        Appellant MyHeritage Ltd. has independently reached a settlement in principle with
Plaintiffs. Accordingly, it takes no position on the motion to refer the case to mediation.
MyHeritage will file a stipulation of dismissal of its appeal once its settlement is finalized.



                                                                                            Sincerely,




                                                                                            Alan Charles Raul




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